JS 44 (Rev. 04/21)                          CIVIL
                     Case 2:21-cv-17086-ES-ESK    COVER
                                               Document   SHEET
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
       Mohamed A. Saad                                                                                           Midland Credit Management, Inc.
                                                                                                                                                                        San Diego County, CA
   (b)   County of Residence of First Listed Plaintiff             Bergen County, NJ                     County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
         Zemel Law LLC, Daniel Zemel, Esq., 660 Broadway,                                                    Blank Rome LLP, Jonathan Ball, Esq, One Logan Sq, 130 N.
         Paterson, NJ 07514                                                                                  18th St, Philadelphia, PA 19103; (215) 569-5500

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               x3    Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State          x 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5    x    5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                          Leave Act                        864 SSID Title XVI            x   890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
 1 Original     x 2 Removed from                            3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
       Proceeding           State Court                            Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           15 U.S.C. Sections 1692, et seq.
VI. CAUSE OF ACTION                    Brief description of cause:
                                                                         Fair Debt Collections Practices Act
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                               DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
         9/16/2021                              /s/Jonathan F. Ball
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


                                                     :
 MOHAMED A. SAAD,                                    :   Case No. ________________
                                                     :
                               Plaintiff,            :
                                                     :
         v.                                          :
                                                     :
 MIDLAND CREDIT MANAGEMENT, INC.,                    :
                                                     :
                               Defendant.            :
                                                     :
                                                     :


                                   NOTICE OF REMOVAL

       Defendant, Midland Credit Management, Inc. (“Midland” or “Defendant”), by and through

its undersigned counsel, hereby files this Notice of Removal pursuant to 28 U.S.C. §1441(a). The

grounds for this removal are set forth as follows:

       1.      On August 13. 2021, Plaintiff, Mohamed A. Saad (“Plaintiff”), filed a complaint

(the “Complaint”) in the Superior Court of New Jersey entitled Mohamed A. Saad v. Midland

Credit Management, Inc., at Docket Number BER-L-005416-21 (the “State Court Action”).

       2.      Pursuant to § 1446(a), a copy of the summons, dated August 13, 2021, and

Complaint, which constitute copies of all “process, pleadings, and orders” in the State Court

Action, are attached hereto as Exhibit 1.

       3.      Plaintiff’s Complaint alleges that Defendant violated the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter, the “FDCPA”). Exhibit 1, Complaint at ¶12.

       4.      Plaintiff’s action is a civil action over which this Court has original jurisdiction

under 28 U.S.C. §1331 and is one which may be removed to this Court by Defendant pursuant to
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the provisions of 28 U.S.C. §1441(a) because the Complaint alleges that Defendant violated the

FDCPA.

       5.      Defendant was served with the Complaint on or about August 17, 2021.

       6.      This Notice of Removal is being timely filed within thirty (30) days of receipt of

the Complaint by Defendant as required by 28 U.S.C. §1446(b).

       7.      Pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal is being served

upon Plaintiff and a copy is being filed with the Clerk of the Superior Court of New Jersey, Bergen

County.

       8.      This Court is part of the “district and division” embracing the place where the

Complaint was filed—Bergen County, New Jersey—and so this Court is the proper venue for

removal. 28 U.S.C. § 1446(a).

       9.      A copy of the Notice of Filing of Notice of Removal, which is being timely filed

with the clerk of the state court in which the action is pending (and which will be served on

Plaintiff’s counsel pursuant to 28 U.S.C. § 1446(d)), is attached hereto as Exhibit 2.

       10.     This Notice of Removal is signed pursuant to Fed. R. Civ. P. 11. See 28 U.S.C. §

1446(a).

       11.     If Plaintiff seeks to remand this case, or this Court considers remand sua sponte,

Defendant respectfully requests the opportunity to submit such additional argument or evidence in

support of removal as may be necessary.




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       WHEREFORE, Midland Credit Management, Inc. respectfully requests that this action

be removed to the United States District Court for the District of New Jersey.


                                             Respectfully submitted,

                                             BLANK ROME, LLP


Dated: September 16, 2021
                                             Michael P. Trainor, Esq.
                                             Jonathan F. Ball, Esq.
                                             One Logan Square
                                             130 N. 18th Street
                                             Philadelphia, PA 19103
                                             Tel. (215) 569-5500
                                             Fax (215) 832-5342
                                             Email: mtrainor@blankrome.com
                                                     jfball@blankrome.com
                                             Counsel for Defendant,
                                             Midland Credit Management, Inc.




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                               CERTIFICATE OF SERVICE

       I, Jonathan F. Ball, hereby certify that a true and correct copy of the foregoing document
was served upon the following individuals via electronic and regular mail on September 16, 2021.

                             Daniel Zemel, Esq.
                             Zemel Law LLC
                             660 Broadway
                             Patterson, NJ 07514
                             dz@zemellawllc.com
                             Tel: (862) 227-3106
                             Counsel for Plaintiff,
                             Mohamed A. Saad


                                            ___________________
                                            Jonathan F. Ball
